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                                   2                                   UNITED STATES DISTRICT COURT

                                   3                                 NORTHERN DISTRICT OF CALIFORNIA

                                   4
                                        EPIC GAMES, INC.,                                 Case No. 4:20-cv-05640-YGR
                                   5

                                   6           Plaintiff and Counter-Defendant,           ORDER REGARDING ADDITIONAL
                                                                                          WITNESSES FOR EVIDENTIARY
                                   7                           v.                         HEARING
                                   8
                                        APPLE INC.,
                                   9
                                               Defendant and Counterclaimant.
                                  10

                                  11          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  12          The Court is in receipt of Epic Games, Inc.’s letter regarding three Apple, Inc.
Northern District of California
 United States District Court




                                  13   employees—Marni Goldberg, Rafael Onak, and Kunnal Vij—that Epic intends to call as witnesses

                                  14   in the evidentiary hearing scheduled to resume next Monday, February 24, 2025. (Dkt. No. 1235.)

                                  15          Epic has provided the correspondence between the parties in attachments to its letter to the

                                  16   Court. In short, Apple’s position is unreasonable. It is entirely untenable that Apple would not

                                  17   expect Epic to call additional witnesses to testify with respect to the documents that the Court

                                  18   ordered be produced in connection with this hearing. Further, Apple’s assertions that Epic’s

                                  19   request is untimely are baseless: by all accounts, should Apple have engaged in appropriate

                                  20   privilege designations during its initial review, Epic could have had a full view of responsive,

                                  21   nonprivileged documents months ago and could have identified witnesses at that time.

                                  22          The Court ORDERS that Apple make Marni Goldberg, Rafael Onak, and Kunnal Vij

                                  23   available for testimony at next week’s evidentiary hearing.

                                  24          IT IS SO ORDERED.

                                  25   Dated: February 18, 2025
                                                                                                YVONNE GONZALEZ ROGERS
                                  26                                                           UNITED STATES DISTRICT JUDGE
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